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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  HAMPTON DELLINGER,

                              Plaintiff,

  v.                                                 Civil Action No. 1:25-cv-00385-ABJ

  SCOTT BESSENT, et al.,


                              Defendants.




                         DEFENDANTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s memorandum opinion and order

granting Plaintiff’s cross-motion for summary judgment and denying Defendants’ motion for

summary judgment. See ECF Nos. 32, 33.

Dated: March 1, 2025                             Respectfully submitted,

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                                                 Acting Assistant Attorney General

                                                 CHRISTOPHER R. HALL
                                                 Assistant Branch Director

                                                 /s/ Madeline M. McMahon
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